                           UNITED STATES DISTRICT COURT
                                         DISTRICT OF MASSACHUSETTS


TRUSTEES OF IBEW 7 PENSION FUND, ET AL,               )
      Plaintiff,                                     )
                                                     )
                   v.                                )    CIVIL ACTION NO. 3:20-11672-MGM
                                                     )
COGHLIN ELECTRICAL CONTRACTORS, INC.,                )
      Defendant,                                      )


                              JUDGMENT IN A CIVIL CASE

Mark G. Mastroianni, U.S.D.J.


[]       Jury Verdict. This action came before the court for a trial by jury. The issues
         have been tried and the jury has rendered its verdict.


[x]      Decision by the Court. This action came to trial or hearing before the Court.
         The issues have been tried or heard and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED

JUDGMENT entered for the Plaintiff Trustees of IBEW 7 Pension Fund, et. al., pursuant to their
agreement entered 11/08/2021, ordering judgment for Plaintiff.


                                                  ROBERT M. FARRELL,
                                                  CLERK OF COURT

Dated January 13, 2022                           By /s/ Michael Zamorski
nunc pro tunc to 11/08/2021                              Michael Zamorski
                                                         Deputy Clerk
(Civil Judgment (Routine).wpd - 11/98)                                                 [jgm.]
